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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION AT LONDON

 AMY JACKSON-BOLINGER, PAMELA
 JOHNSON, and MELISSA NORTH, on behalf
 of themselves and all others similarly situated,

                  PLAINTIFFS,                                   CIVIL ACTION NO. 6:19-CV-152-REW

 v.                                                             Electronically Filed
 AMERICORE HEALTH, LLC, et al.,

                  DEFENDANTS.


                                        JOINT STATUS REPORT

         Plaintiffs and all Defendants except for the Americore entities (two of which are in

 bankruptcy, and one of which seems to have ignored this case entirely after its counsel withdrew)

 submit this joint status report pursuant to DN 45.

         On June 24, 2020, following extensive negotiations, the parties submitting this joint

 status report reached a settlement in principle. In September, the parties finalized the terms of

 their settlement and memorialized those terms in writing. The settlement terms resolve the

 instant claims between the individuals who have retained Plaintiffs’ counsel and all Defendants

 except for the Americore entities. The settlement terms do not address the claims of any putative

 class, but resolves the claims of the settling individuals only. To avoid any potential issues with

 the settlement that could arise by virtue of the fact that the applicable insurance policy was

 obtained by Pineville Community Hospital Association, Inc., an entity now in bankruptcy,1 the

 parties are seeking approval from the bankruptcy court to pay the settlement funds. As soon as

 the bankruptcy court rules on the motion being filed by the parties, assuming approval occurs as


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  In re Pineville Community Hospital Association, Inc., Case No. 18-61486, United States Bankruptcy Court for the
 Eastern District of Kentucky, London Division.
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 expected, the parties should be able to proceed with settlement. The parties submitting this joint

 status report have no knowledge of any matter involving the Americore Defendants.

        The parties will continue to provide the Court with joint status reports every 90 days.



  /s/ Ronald E. Johnson, Jr. (with permission)       /s/ Carolyn Purcell Michener
  Ronald E. Johnson, Jr.                             Chadwick A. McTighe
  Sarah N. Emery                                     Marjorie A. Farris
  Hendy Johnson Vaughn Emery, PSC                    Carolyn Purcell Michener
  909 Wright’s Summit Parkway #210                   STITES & HARBISON PLLC
  Ft. Wright, Kentucky 41011                         400 West Market Street
  Tel. 859.578.4444                                  Suite 1800
  Facsimile 859.578.4440                             Louisville, KY 40202-3352
  rjohnson@justicestartshere.com                     Telephone: (502) 587-3400
  semery@justicestartshere.com                       Email: cmctighe@stites.com
                                                            mfarris@stites.com
  Counsel for Plaintiffs                                    cmichener@stites.com

                                                     Counsel for Defendants Charles Bishop,
                                                     Albey Brock, HD Cannington, John Combs,
                                                     Mansfield Dixon, David Gambrel, Talmadge
                                                     Hayes, Estate of John Garfield Howard,
                                                     Johnny Jones, Greg Nunnelley, Jay Steele,
                                                     Jerry Woolum, M.D., and The Pineville
                                                     Community Hospital Administrative Services
                                                     Agreement Health Care Plan



  /s/ Edward H. Stopher (with permission)
  Edward H. Stopher
  BOEHL STOPHER & GRAVES, LLP
  400 West Market Street
  Suite 2300
  Louisville, KY 40202
  Telephone: (502) 589-5980
  Email: estopher@bsg-law.com

  Counsel for Defendant Matthew Brock




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                                CERTIFICATE OF SERVICE

         I hereby certify that on October 5, 2020, I electronically filed the foregoing with the
 Clerk of the Court using the CM/ECF system which sent notification of such filing to all counsel
 of record.



                                             /s/ Carolyn Purcell Michener
                                             Counsel for Defendants Charles Bishop, Albey
                                             Brock, HD Cannington, John Combs, Mansfield
                                             Dixon, David Gambrel, Talmadge Hayes, Estate
                                             of John Garfield Howard, Johnny Jones, Greg
                                             Nunnelley, Jay Steele, Jerry Woolum, M.D., and
                                             The Pineville Community Hospital
                                             Administrative Services Agreement Health Care
                                             Plan


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